                                APPEAL TRANSMITTAL SHEET (non-death penalty)
 Transmittal to 4CCA of notice of          District:                                     District Case No.:
 appeal filed: 04/14/25
                                            Eastern District of North Carolina           5:24-CV-731-M
 ✔ First NOA in Case
 ___                                       Division:                                     4CCA No(s). for any prior NOA:
 ___ Subsequent NOA-same party             Western                                        25-1020
 ___ Subsequent NOA-new party             Caption:                                       4CCA Case Manager:
 ___ Subsequent NOA-cross appeal          Griffin v. North Carolina State Board
                                          of Elections
 ___ Paper ROA      ___ Paper Supp.                                                       Rachel Phillips
  Vols: _______________________           *524-CV-699-M, 525-MC-193-M
                                          consolidated with the above case
 Other: _______________________
 Exceptional Circumstances: ___ Bail ___ Interlocutory ___ Recalcitrant Witness              ___ Other __________________________
 Confinement-Criminal Case:                Fee Status:
 ___ Death row-use DP Transmittal          ___ No fee required (USA appeal)          ✔ Appeal fees paid in full
                                                                                    ___                              ___ Fee not paid
 ___ Recalcitrant witness
                                           Criminal Cases:
 ___ In custody
                                           ___ District court granted & did not revoke CJA status (continues on appeal)
 ___ On bond
 ___ On probation                          ___ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
 Defendant Address-Criminal Case:          ___ District court never granted CJA status (must pay fee or apply to 4CCA)
                                           Civil, Habeas & 2255 Cases:
                                           ___ Court granted & did not revoke IFP status (continues on appeal)
                                           ___ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)
                                            ✔ Court never granted IFP status (must pay fee or apply to 4CCA)
                                           ___
 District Judge:                           PLRA Cases:

  Richard Myers, II                        ___ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
                                           ___ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)
 Court Reporter (list all):
 Amy Condon                                Sealed Status (check all that apply):
 Stacy Schwinn                             ____ Portions of record under seal
                                           ____ Entire record under seal
                                           ____ Party names under seal
                                           ____ Docket under seal
 Coordinator: Shelia Foell
 Record Status for Pro Se Appeals (check any applicable):              Record Status for Counseled Appeals (check any applicable):
 ___ Assembled electronic record transmitted                            ✔ Assembled electronic record available if requested
                                                                       ___
 ___ Additional sealed record emailed to 4cca-filing                   ___ Additional sealed record available if requested
 ___ Paper record or supplement shipped to 4CCA                        ___ Paper record or supplement available if requested
 ___ No in-court hearings held                                         ___
                                                                        ✔ No in-court hearings held
 ___ In-court hearings held – all transcript on file                   ___ In-court hearings held – all transcript on file
 ___ In-court hearings held – all transcript not on file               ___ In-court hearings held – all transcript not on file
 ___ Other:                                                            ___ Other:



              Shelia Foell
Deputy Clerk: ______________________       252-830-2330
                                     Phone:___________________                            04/15/25
                                                                                    Date:_________________

01/2012
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